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   8
                      IN THE UNITED STATES DISTRICT COURT
   9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
       Symbology Innovations, LLC,                  CASE NO.: 2:19-cv-10847-RGK-AS
  11
                         Plaintiff,
  12                                                [PROPOSED] ORDER TO
       v.                                           DISMISS CASE WITH
  13
                                                    PREJUDICE
  14   PUBLIC STORAGE, a Maryland real
       estate investment trust,
  15
                         Defendant.
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  19        Based on the stipulation of the parties, and good cause appearing therefore,
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       IT IS HEREBY ORDERED THAT:
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  22
            Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff’s claims against
  23
       Defendant are dismissed WITH PREJUDICE and Defendant’s counterclaims against
  24
       Plaintiff are dismissed WITHOUT PREJUDICE, wholly dismissing the instant action,
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                                                1
                              STIPULATION TO DISMISS WITH PREJUDICE
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   1   Symbology Innovations, LLC v. Public Storage, a Maryland real estate investment
   2
       trust, Case No. 2:19-cv-10847-RGK-AS, with each party to bear its own attorneys’
   3
       fees and costs.
   4

   5         It is SO ORDERED.
   6
       Dated: March 4, 2020                       ________________________________
   7                                                   United States District Judge
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                              STIPULATION TO DISMISS WITH PREJUDICE
